                                           Northern District Of Ohio
                                         United States Bankruptcy Court
                                         Ralph Regula U.S. Courthouse
                                          401 McKinley Avenue SW
                                               Canton, OH 44702
                                                 Case No. 21−61078−rk

In re:
   Judy A Pinnick                                             Arthur H Pinnick
   7695 Judy Ave                                              7695 Judy Ave
   Apple Creek, OH 44606                                      Apple Creek, OH 44606
Social Security No.:
   xxx−xx−5366                                                xxx−xx−4901




                                                    FINAL DECREE


The Court, in reliance upon the certification of the case trustee, finds that the estate of the debtor(s) has been fully
administered.

    The deposit required by the Plan has been distributed.

It is therefore Ordered that:

    Anne Piero Silagy Esq. is discharged as Trustee of the estate of the debtor and any bond required by 11 U.S.C. §
322 is cancelled.

    The Chapter 7 case of the debtor(s) is closed; and

    Other provisions as needed.




Dated: December 10, 2021                                      /s/ Russ Kendig
Form ohnb136a                                                 United States Bankruptcy Judge




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